Case 2:05-cr-20218-SH|\/| Document 7 Filed 08/09/05 Page }V°YZ/Eage|D 5
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WESTERN DISTRICT OF TENNE

UNITED STATES DISTRICT COIHSE __ .
SS s 9 mt a at
Western Division ~:--;E:\ _ .

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UNITED STATES OF AMERICA

-vs- Case No. 05cr20218-Ma

SEAN SIMPSON

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT 'I`O
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
THURSDAY, AUGUST 11, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson, in Courtroom M-3, 9th iloor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing.

Date: August 8, 2005 'T;:.|>&d_)\'

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

 

 

‘Ifnot held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(t`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are presentl Subsection (I) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85) Order of Tamporary Detention

Thls doctment entered on the docket sheet in jimp|iance
with Hule 55 and/or 32tbl FRCrP on ' "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-202] 8 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

